             Case 1:20-cv-08405-AT Document 13 Filed 11/06/20 Page 1 of 3




Jason M. Drangel (JD 7204)
jdrangel@ipcounselors.com
Ashly E. Sands (AS 7715)                                                11/2/2020
asands@ipcounselors.com
Brieanne Scully (BS 3711)
bscully@ipcounselors.com
Danielle S. Yamali (DY 4228)
dfutterman@ipcounselors.com
EPSTEIN DRANGEL LLP
60 East 42nd Street, Suite 2520
New York, NY 10165
Telephone: (212) 292-5390
Facsimile:     (212) 292-5391
Attorneys for Plaintiff
Allstar Marketing Group, LLC

                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


                                                           ORDER TO UNSEAL
 ALLSTAR MARKETING GROUP, LLC,

 Plaintiff
                                                              20-cv-8405 (AT)

 v.

 *WARM YOUR HOUSE* STORE, AA MARKET STORE, AB35
 STORE, AJ29 STORE, ALHOME$GLODCISTERN STORE,
 ATTRACTION FOR YOU STORE, BALMY WIND STORE,
 BESTHOMEFURNITURE STORE, BETTERHOUSE STORE,
 BTMETER     OFFICIAL    STORE,    CCCMART     STORE,
 CHARACTERISTIC LIFE STORE, CHARLOTTET'S STORE, CITY
 OF DAILY NECESSITIES STORE, CO TECH STORE, COMPUTER
 OFFICE OVERSEA STORE, CONVENIENT 666 STORE, DAILY
 COMFORT LIVING STORE, DONGGUAN BLUE SHARK
 TECHNOLOGY CO., LIMITED, DROPSHIPPING TO WHOLE
 WORLD STORE, DRY HOUSEWARE STORE, E2SHOPPING
 STORE, EMBELLISH NEW LIFE STORE, FANHHUI STORE, FOR
 GOOD THINGS STORE, FOR YOUR B-ETTER LIFE STORE,
 FOREWAN DIYCRAFT STORE, FUNNY GIFTS STORE, GARDON
 STORE STORE, GLOBAL 3C TECH STORE, GLOBAL
 PROFESSIONAL TOOL STORE, GOOD LIFESTYLE STORE,
 HANGZHOU JUKINGS TECH CO., LTD., HIGH GRADE 3CMART
 STORE, HOMESERVICE STORE, HOMO DROPSHIP STORE,
 HOUSE GOODHAND STORE, HOUSEHOLDTOOLS GROCERIES
 STORE, HUIYU FACTORY STORE, I FOUND YOU STORE,
 INFINITE VOICE STORE, INSTRUMENT TECH STORE, JA
 JLAKDFALIYUN STORE, JIANDE HUNLEE ELECTRICAL
 APPLIANCE CO., LTD., KALAXHOME STORE, K-E-Y TO YOUR
 H-E-A-R-TE STORE, LA FAVORITA FLAGSHIP STORE,
 LBFAMILY STORE, LINHAI ZHONGQI OPTO-ELECTRICAL
             Case 1:20-cv-08405-AT Document 13 Filed 11/06/20 Page 2 of 3



TECHNOLOGY CO., LTD., LITTLE EXPERT STORE,
LOVELYPUPPY STORE, LUCKLY HOUSE STORE, LUMIPARTY
FACTORY STORE, LUMIPARTY OFFICIAL STORE, MAGICIAN
3C   STORE,   MAY    RECORDS   STORE,   MOONLIGHT
DROPSHIPPING STORE, MYRIANN OFFICIAL STORE, NO. 19
MASK STORE, ONETREE STORE, PROFESSIONAL TOOL
CENTER STORE, ROMANTIC ALL HOUSE STORE, ROMANTIC
FULL IN HOME, SAFE LIFE STORE, SECURITY PROTECT
ONLINE STORE, SHANMAMMY DROPSHIP STORE, SHENZHEN
CLICKS TECHNOLOGY CO., LTD., SHOP1266133 STORE,
SHOP4917095 STORE, SHOP5250048 STORE, SHOP5440035
STORE,   SHOP5522046   STORE,  SHOP5788919  STORE,
SHOP910453068 STORE, SIX STARS PRODUCTS STORE,
SMARTLIVES STORE, SNEWVIE LED LIGHTING YOUR LIFE
STORE, SURPRISE LIFE STORE, SWOVO DIYCRAFT STORE,
SZWKY HOUSEHOLDS STORE, TOOLS DIRECT STORE, TOP1
PHONE STORE, TOPLEO STORE, TRENDY CASUAL
CLOTHINGS STORE, TT PINK LIFE STORE, TTMART STORE,
WELCOME OVERSEA STORE, WORTH WATCHING STORE,
YIDIAN OF GRASS STORE. YOCOMYLY 511511 STORE, YOUR
DAILY 3CMART STORE, YOUR HAPPINESS HOUSE STORE and
YOYOHOME STORE,

Defendants




                                          2
          Case 1:20-cv-08405-AT Document 13 Filed 11/06/20 Page 3 of 3




       WHEREAS the Court orders that this Action be unsealed and Records Management upload

all documents filed to date on the Electronic Case Filing system.


SO ORDERED.

Dated: November 2, 2020
       New York, New York




                                                1
